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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JASON HITT
     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2751
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 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,          )   Case No. 2:11-mj-00314 KJN
                                        )
11               Plaintiff,             )   GOVERNMENT’S MOTION TO DISMISS THE
                                        )       CRIMINAL COMPLAINT AGAINST
12        v.                            )       DEFENDANT DIKES AND ORDER
                                        )
13   RICHARD RAYMOND KLEIN, and         )
     JASON WAYNE DIKES,                 )
14                                      )
                 Defendants.            )
15                                      )
                                        )
16                                      )
                                        )
17
18        The United States of America, through its attorney of record,
19   Assistant U.S. Attorney Jason Hitt, hereby moves for an order
20   dismissing the Criminal Complaint against defendant Jason Wayne DIKES
21   (only) in Case No. 2:11-mj-00314 KJN pursuant to Federal Rule of
22   Criminal Procedure 48(a).       The Criminal Complaint against DIKES and
23   his co-defendant was filed on October 7, 2011.
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /

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 1        The government brings this motion in the interests of justice
 2   because additional investigation of defendant DIKES is needed as a
 3   result of evidence developed after the filing of this Criminal
 4   Complaint.   Specifically, the United States is submitting evidence
 5   seized in this case for extensive forensic examination and will
 6   evaluate whether to pursue criminal charges against defendant DIKES
 7   after that examination is complete.       Accordingly, the undersigned
 8   respectfully moves to dismiss the Criminal Complaint as to defendant
 9   Jason Wayne DIKES in Case No. 2:11-mj-00314 KJN in the interests of
10   justice pursuant to Rule 48(a).
11
12                                        Respectfully Submitted,
13                                        BENJAMIN B. WAGNER
                                          United States Attorney
14
15   DATED: October 11, 2011          By:/s/Jason Hitt
                                         JASON HITT
16                                       Assistant U.S. Attorney
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 1                                       ORDER
 2        For the reasons set forth in the motion to dismiss the Criminal
 3   Complaint filed by the United States, IT IS HEREBY ORDERED that:
 4        1.   The Criminal Complaint against Jason Wayne DIKES in Case
 5   No. 2:11-mj-00314 KJN is hereby DISMISSED pursuant to Federal Rule of
 6   Criminal Procedure 48(a).
 7   Dated: October 11, 2011                /s/ Carolyn K. Delaney
                                            United States Magistrate Judge
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